                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


   UNITED STATES OF AMERICA                      )
                                                 )       No. 3:17-cr-00082-002
   v.                                            )       Hon. Thomas A. Varlan, Chief USDJ
                                                 )
   HEATHER ANN TUCCI-JARRAF                      )


   SECOND MOTION OF THE DEFENDANT HEATHER ANN TUCCI-JARRAF FOR AN
     EXTENSION OF TIME WITHIN WHICH TO FILE POST-VERDICT MOTIONS


          The Defendant HEATHER ANN TUCCI-JARRAF respectfully moves this Honorable

   Court for an additional extension of time under FRCrimP 45(b)(1)(A) within which to file a

   motion for a new trial under FRCrimP 33, and a motion for a judgment of acquittal under

   FRCrimP 29.

          IN SUPPORT of this motion, undersigned counsel for the moving Defendant states that

   due to an administrative error for which undersigned counsel is responsible, a delay in the

   Court’s processing of this Defendant’s application for a voucher for the trial transcript occurred.

   Counsel is advised that 30 days or more will be needed for the preparation of the transcript, after

   which additional time will be needed for review of the transcript, and for the preparation of the

   FRCrimP 33 and 29 motions for which the transcript is needed.

          FRCrimP 45(b)(1)(A) authorizes the extension of time sought for good cause on a party’s

   motion made before the previously extended time expires. The Court previously extended the

   time for filing a motion or motions under FRCrimP 33 and 29 to March 30, 2018. The moving

   Defendant suggests that the Court set a new deadline for this purpose during the second half of

   May 2018.




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                                                  Respectfully submitted,

                                                  s/ Francis L. Lloyd, Jr.
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                                                    Counsel for the Defendant
                                                    Heather Ann Tucci-Jarraf



                                     CERTIFICATE OF SERVICE

            I hereby certify that a copy of this document was filed electronically. Notice of this filing
   will be sent by operation of the Court’s electronic filing system to all the parties indicated on the
   electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties may access
   this filing through the Court’s electronic filing system.

                                                  s/ Francis L. Lloyd, Jr.




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